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IN THE UNITED sTATEs DISTRICT COURT °"" `
FOR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED sTATES oF AMERICA, W %§,l.?i?ahcg}m
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vs. No. 04-20168-Ma

NANA ASANTEWAA,

Defendant.

 

ORDER GRANTING EXPENSES FOR ‘I‘RAVEL AND SUBSISTENCE

 

Before the court is the petition of the defendant, Nana
Asantewaa, filed on August 2, 2005, for travel and subsistence
expenses, pursuant to 18 U.S.C. § 4285, to allow defendant to
travel from Columbus, Ohio, to Memphis, Tennessee, to appear
before the United States District Court for report date on
Friday, August 26, 2005, at 2:00 p.m.

The court finds that the defendant has been found to be
indigent and is without means to afford her transportation
expenses from Columbus, Ohio, to Memphis, Tennessee. The court,
therefore, grants the defendant’s motion for travel and
subsistence expenses.

The U. S. Marshal is ORDERED to provide the defendant, Nana
Asantewaa, travel and subsistence expenses pursuant to 18 U.S.C.

§4285, to allow her to appear before the United States District

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Court in Memphis, Tennessee, for report date at 2:00 p.m.,

Friday, August 26, 2005.

It is so ORDERED this sit day of August, 2005.

SAMUEL H. MAYS, JR.
UNI'I'ED STA'I'ES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 65 in
case 2:04-CR-20168 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

